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                                                                                               (1 of 3)




                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                              100 EAST FIFTH STREET, ROOM 540
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                                             Filed: December 19, 2019

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                  Re: Case No. 19-5624, Christopher Frost v. University of Louisville, et al
                      Originating Case No. : 3:19-cv-00227

Dear Sir or Madam,

   The Court issued the enclosed (Order/Opinion) today in this case.

                                                Sincerely yours,

                                                s/Connie A. Weiskittel
                                                Mediation Administrator

cc: Ms. Vanessa L. Armstrong

Enclosure

No mandate to issue
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                                                                                             (3 of 3)



                                         Case No. 19-5624

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER



DR. CHRISTOPHER FROST

              Plaintiff - Appellee

v.

UNIVERSITY OF LOUISVILLE; KIMBERLY KEMPF-LEONARD; LAURA SCHROEDER,
aka Laura Carter; DONNA ERNST, in their individual and official capacities

              Defendants - Appellants



     In accordance with Rule 33, Rules of the Sixth Circuit, and upon consideration of the

parties' stipulation to dismiss,

     It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

of Appellate Procedure.

                                                  ENTERED PURSUANT TO RULE 33,
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Deborah S. Hunt, Clerk


Issued: December 19, 2019
                                                  ___________________________________
